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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CONSUMER FINANCIAL
PROTECTION BUREAU,
Plaintiff
3:17-CV-101

v. : (Judge Mariani)

NAVIENT CORPORATION, et ai.,

Defendants.

SPECIAL MASTER REPORT #14 —- CONFIDENTIALITY
DESIGNATIONS AND THE SEALING OF A BRIEF

I. INTRODUCTION
Plaintiff Consumer Financial Protection Bureau (the “Bureau”) contests the
designation of certain documents and deposition excerpts as “confidential” by
Defendants (referred to in this report collectively as “Navient”). The discovery
matter was designated as “confidential” pursuant to the terms of a stipulated
protective order. (Doc.' 66-1 and Doc. 67.) One consequence of that designation
is to require that the designated documents and deposition excerpts (defined in the

stipulated protective order as “Protected Material’), when submitted to the Court,

 

' The designation “Doc.” followed by a number refers to the docket entry
number on the electronically-maintained docket sheet for this case.

 

 
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be filed under seal. (Doc. 66- 1, | 7.2(a).) Another consequence is that any
document filed with the Court that reveals “Protected Material” must be filed
under seal. Ud. at J 11.)

The Bureau cited to the contested “Protected Material” in the Brief filed with
the Court in support of a motion to defer the deadline for its response to
Defendants’ partial summary judgment motion. As a result, not only the cited
exhibits, but also the Bureau’s Brief, were filed under seal. The Bureau asks that
the “Protected Material” in question be unsealed in whole or in part, thereby
allowing its Brief to be unsealed. Alternatively, the Bureau “requests that only the
Bureau’s brief... be unsealed, and the ten exhibits can remain sealed... .” (Doc.
332 at 1.) Navient resists both alternatives, asserting that disclosure of the
“Protected Material” will injure its competitive position as one of only a handful of
student loan servicers under contract with the United States Department of
Education.

Having received written and oral argument from the parties, and after careful
consideration, I have concluded that the Brief should be unsealed. As explained at
greater length below, the Brief is a “judicial record” to which a presumption of
public access attaches. Navient bears the burden of overcoming the presumption
of public access by showing that unsealing the Brief will cause it “a clearly defined

and serious injury.” /n re Avandia Mktg., Sales Practices & Prod. Liab. Litig., 924

 
 

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F.3d 662, 672 (3d Cir. 2019). Navient has not made that showing. The references
to the Protected Material in the Brief do not reveal the intricate details of Navient’s
business model and loan servicing strategies. In fact, Navient cited to some of the
same Protected Material in the Statement of Undisputed Material Facts submitted
in support of its partial summary judgment motion (Doc. 162) without deeming it
necessary to make that filing under seal. Indeed, Navient has not made any
argument that unsealing only the Brief will reveal any confidential business
information.

As to the underlying discovery material cited by the Bureau and filed under
seal, Navient strongly contests treating those documents as “judicial records,”
thereby avoiding the presumption of public access. Instead, according to Navient,
protection ve/ non should be assessed under the standards governing protective
orders issued pursuant to Federal Rule of Civil Procedure 26(c), as explicated in
Pansy v. Borough of Stroudsburg, 23 F.3d 772, 785-88 (3d Cir. 1994), and, more
recently, in Avandia, 924 F.3d at 670-72. The Bureau argues that because the
discovery materials were submitted in connection with a dispositive motion, they
qualify as “judicial records,” subject to the presumption of public accessibility.
The Bureau also argues that even if the documents in question are not regarded as
“judicial records,” Navient has not shown the necessary “good cause” to have them

sealed pursuant to Fed. R. Civ. P. 26(c). Because I have concluded that the Brief

 
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should be unsealed, and the Bureau has indicated that its main objective is to
unseal the Brief, I will not reach the question of public access to the discovery
material.
H. BACKGROUND

This litigation concerns, in principal part, the student loan servicing practices of
Navient Corporation and its wholly-owned subsidiary, Navient Solutions, Inc.,
formerly know as Sallie Mae, Inc. The Bureau contends that Navient’s student
loan servicing practices, involving millions of student borrowers, violated the
Consumer Financial Protection Act of 2010, 12 U.S.C. §§ 5531, 5536(a), 5564,
5565. One of the Bureau’s claims is that Navient wrongfully “steered” student
borrowers experiencing long-term financial hardship into loan repayment
“forbearance” programs instead of “income based repayment” (“IBR”) programs
that the Bureau contends were more advantageous for student borrowers.

Extensive discovery in this case has been conducted pursuant to a stipulated
protective order (Doc. 66), approved by the Court on November 3, 2017. (Doc.
67.) The protective order is self-executing. That is, a party’s designation of a
document or deposition transcript as “confidential” results in that document or
deposition transcript being classified as “Protected Material” and triggers the
safeguards of the protective order. (Doc. 66,45.) One of those safeguards is that

Protected Material must be filed with the Court under seal. (/d., J 7.2(a).)

 
 

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Furthermore, “[a]ny document that is filed with the Court that reveals or discloses
any Protected Material, unless the Parties otherwise agree in wniting or the Court
otherwise orders, shall be filed under seal, in accordance with the procedures set
forth in Local Rule 5.8.” Ud., 7 11.)

A producing party’s designation of a document as “confidential,” however,
is not conclusive. A receiving party may challenge the designation at any time.
(/d., | 6.1.) If the parties are unable to resolve the matter after a meet and conferral
process, the receiving party may request judicial resolution, with the producing
party bearing the “burden to establish that the information has been appropriately
designated as Confidential.” (/d., 4] 6.4.)

On January 17, 2019, Navient moved for partial summary judgment, secking
dismissal of the Bureau’s claim of wrongful “steering” of student loan borrowers
into “forbearance” and away from IBR plans. (Doc. 160.) In support of its
motion, Navient filed a “Statement of Facts,” (Doc. 162), along with 80 exhibits.
(Doc. 163.) Navient sought and obtained approval to file many of the exhibits
under seal. (Docs. 165 and 194.) It did not, however, seek leave to file under seal
its Statement of Facts, even though the Statement made references to material it

had designated as “confidential.”

 

? Paragraph 7.3 of the stipulated protective order provided that “[n]othing in
this Order affects or restricts the manner in which Protected Material is or may be
used by the Designating Party. Such use shall not waive the protections of this

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On February 6, 2019, the Bureau moved to defer the deadline for its
response to the motion for partial summary judgment and to prohibit Navient from
filing any additional summary judgment motions prior to the close of discovery.
(Doc. 212, referred to in this Report as “Motion to Defer.”) The Brief in support of
its motion was filed the following day. Attached to the Brief were several exhibits
that had been designated by Navient as “confidential,” and thus constituted
“Protected Material” under the stipulated protective order.? The Brief included
quotations from and references to this “Protected Material.” Accordingly,
consistent with paragraph 11 of the stipulated protective order, the Bureau filed the
Brief and accompanying exhibits under seal.

On February 20, 2019, without awaiting Navient’s response to the Motion to

Defer, the District Court denied the motion for partial summary judgment as

 

Order and shall not entitle other Parties or non-parties to use or disclose such
information in violation of this Order. .. .”

3 There are ten exhibits to the Brief that are at issue here. The exhibits,
attached collectively as Exhibit C to the Bureau’s March 22, 2019 letter to the
Special Master (Doc. 274-3), are: (1) a 2010 memorandum that describes some of
Navient’s student loan servicing practices; (2) an excerpt from Navient’s training
materials intended to give guidance to Navient representatives dealing with
delinquent borrowers; (3) excerpts from the deposition of Matthew Bailer, the
former head of Navient’s call centers; (4) excerpts from the deposition of Suzanne
Croft, a Navient call center supervisor; (5-9) summaries of telephone
communications with student borrowers and related “coaching” advice; and (10)
excerpts from the deposition of Johnathan Powell concerning how Navient
monitored and coached its representative in their dealings with student borrowers.

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premature. (Doc. 228.) In the course of explaining its decision, the District Court
quoted from the Bureau’s Brief in support of its Motion to Defer, agreeing with the
Bureau that “it would be most efficient for the parties to ‘focus their efforts on
bringing fact discovery to a close’ rather than filing or responding to summary
judgment motions.” (/d. at 1-2, quoting the Brief (Doc. 213) at 17.) The District
Court also denied the Motion to Defer as moot. (Doc. 228 at 3.)

Prior to the District Court’s denial of the partial summary judgment motion
and the Motion to Defer, the Bureau initiated a chalienge to the confidentiality
designation of the exhibits submitted in support of the Motion to Defer.* The
parties’ efforts to resolve matter were unsuccessful. On March 22, 2019, the
Bureau wrote to the Special Master to secure a ruling that the exhibits should not
be sealed, or alternatively, that only those parts of the documents found to be
confidential be sealed. (Doc. 274-1 at 5.) Navient countered with its letter of
March 29, 2019, which was accompanied by six exhibits. (Doc.) The parties’
letter briefs were addressed during a telephonic conference on June 10, 2019. Asa
result of that conference, Navient was directed to provide evidentiary support for
their designation of the documents in question as confidential. (Special Master

Order #36, Doc. 326.) Navient was also ordered to produce its suggested

 

“ The Bureau’s pursuit of the protective order’s mandated meet and conferral
process is documented in emails attached as Exhibit A to the Bureau’s March 22,
2019 letter to the Special Master (Doc. 274-2.)

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redactions of those parts of deposition transcripts that it regarded as confidential.
(/d.) Navient timely complied on June 24, 2019 by submitting (1) a declaration of
its Vice President of Title IV Servicing; (2) proposed redactions of deposition
transcripts; and (3) a letter brief. (Doc. 328.) The Bureau replied with its own
letter brief dated July 3, 2019 along with exhibits. (Doc. 332.) Ora! argument was
again heard by telephone on July 16, 2019.
HI. DISCUSSION

The genesis of this dispute is a rather standard protective order commonplace in
complex litigation, such as this matter. The authority for the order is Rule 26(c) of
the Federal Rules of Civil Procedure, which, in pertinent part, provides that a
“court may, for good cause, issue an order to protect a party or person from
annoyance, embarrassment, oppression, or undue burden or expense. . . .”
Protective orders such as the one issued in this case facilitate the discovery process
by requiring that large amounts of discovery material be maintained as confidential
without a judicial determination of the need for confidentiality on a document-by-
document basis. Only when the confidentiality designation is challenged is the
question of “good cause” brought into play. In Pansy, the Third Circuit explained
that “good cause” as used in Rule 26(c) means “that disclosure will work a clearly

defined and serious injury to the party seeking closure.” 23 F.3d at 786.

 

 
   
  
  
   
  
  
  
  
  
  
  
  
  
  
 
 
  
  
   
   

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That standard applies to material disclosed during discovery. Material filed
with a court, however, stands on different footing. “In both criminal and civil
cases, a common law right of access attaches ‘to judicial proceedings and
records.’” Avandia, 924 F.3d at 672 (citation omitted). The common law right 1s
“Tajnalytically distinct from the District Court’s ability to protect discovery
materials under Rule 26(c)” because there is a presumption in favor of public
access for judicial records, but not for discovery material. Thus, this presumption
acts as “a thumb on the scale in favor of openness... .” /d. at 676.

The mere filing of discovery material with a court, however, does not
necessarily make it a “judicial record,” presumptively accessible by the public. In
Leucadia v. Applied Extrusion Techs, Inc., 998 F.2d 157, 165 (3d Cir. 1993), the
court drew a distinction between “material filed in connection with nondiscovery
pretrial motions, whether . . . case dispositive or not,” and “discovery motions and
their supporting documents.” As to the latter, there is no presumptive right of
access.

33 Ge.

Even if the filing of a document qualifies it as a “judicial record,” “the common
law right of access is ‘not absolute.”” Avandia, 924 F.3d at 672 (citation omitted).
The presumption, however, is strong. /d. “To overcome that strong presumption,

the District Court must articulate ‘the compelling, countervailing interests to be

protected,’ make ‘specific findings on the record conceming the effects of

 
 

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disclosure,’ and ‘provide[] an opportunity for interested third parties to be heard.’”
ld. at 672-73.

Acknowledging that “[t]he standard for sealing ‘judicial records’ is ‘more
rigorous’ than the test for ordinary discovery materials,” (Doc. 328 at 1 n.1),
Navient maintains that the documents in question should not be regarded as
“judicial records” even though they were part of a court filing. According to
Navient, the test for “whether a document filed with the court is a judicial record
tums on ‘the use the court has made of it,’” (id. at 1, quoting N. Jersey Media Grp.,
Inc. v. United States, 836 F.3d 421, 435 (3d Cir. 2016), and the District Court
made no use of the documents in question because it denied the Bureau’s Motion
to Defer as moot.

This argument ignores the fact that the District Court made use of the Brief
filed in support of the Motion to Defer. As noted above, the District Court quoted
from the Brief in denying, without prejudice, Navient’s motion for partial summary
judgment. Thus, even under the test postulated by Navient, the Brief is a “judicial
record.”

In any event, the operative test for whether a document is a “judicial record” is
not whether the court has made use of it. As reaffirmed as recently as May of this
year in Avandia, “[a] ‘judicial record’ is a document that ‘has been filed with the

court... or otherwise somehow incorporated or integrated into a district court’s

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adjudicatory proceedings.’” 924 F.3d at 672 (citation omitted).* The Brief in
support of the Motion to Defer was filed in connection with a nondiscovery
motion, i.e., a motion for partial summary judgment. Navient’s summary
judgment motion claimed that the Bureau could not present evidence of “steering”
student loan borrowers into forbearance and away from IBR plans. The Buréau
contested this assertion while arguing that Navient’s motion was premature as
substantial discovery had yet to be completed.

Court filings made in connection with a summary judgment motion are
regarded as “judicial records,” requiring application of “the exacting common law
right of access standard, including the ‘strong presumption’ of access,’” before
[granting] continued confidentiality.” Avandia, 924 F.3d at 675. Accord, Republic
of the Philippines v. Westinghouse Elec. Corp., 949 F.2d 653, 660-62 (3d Cir.
1991). And it matters not that the District Court denied the summary judgment
motion as premature and denied as moot the Bureau’s Motion to Defer. “[P]apers
filed in connection with a motion for summary judgment are not entitled to be
shielded from public access merely because the district court denied the motion

rather than granted it.” Republic of Philippines v. Westinghouse Elec. Corp., 949

 

an exception, however, is made for discovery motions and documents filed
in connection with such motions. See N. Jersey Media Grp., 836 F.3d at 435.

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F.2d 653, 661 (3d Cir. 1991) As explained in Mine Safety Appliances Co. v. North
River Insurance Co., 73 F. Supp. 3d 544, 559 (W.D. Pa. 2014):

The disposition of a [summary judgment] motion does not affect

the presumption that applies to such submissions. This is because

the need for public scrutiny is at its zenith when the motion is

dispositive and is of a comparable level when the motion is denied

because the ruling tends to shape the scope and substance of the

litigation as the parties proceed to trial.

Navient’s reliance upon N. Jersey Media Group to assert that the operative test
is the use to which a filed document has been made by the court is misplaced. That
case concerned the status of a letter that purportedly identified an unindicted co-
conspirator in the New Jersey “Bridgegate” prosecution. 836 F.3d at 424. The
prosecutors sent the letter to defense counsel and emailed a copy of the letter to the
District Judge. /d. at 433. They did not file the letter with the Clerk of Court, nor
ask the District Judge to take any action in connection with the letter. The Third
Circuit denied a media group’s request for access to the letter “[iJn light of its
present lack of adjudicatory significance,” explaining that “[t]he Letter was
intended as an aid to the defense, not as an aid to the judge in rendering a decision
or for some other judicial purpose.” /d. at 436. Here, by way of contrast, the Brief
was filed with the Clerk of Court for the explicit purpose of convincing the District

Judge to take a specific adjudicatory action. Accordingly, the strong presumption

of public access attaches to the Brief.

  

 
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It was thus incumbent upon Navient to present an evidentiary foundation
establishing the substantial interests in secrecy that overcome the strong
presumption of public access. See Leucadia, 998 F.2d at 165 (“The burden is on
the party who seeks to overcome the presumption of access to show that the
interest in secrecy outweighs the presumption.”) (Internal quotation marks and
citation omitted.) Navient “must make a ‘particularized showing of the need for
continued secrecy.” /d. at 166 (citations omitted). “[C]areful factfinding and
balancing of competing interests is required before the strong presumption of
openness can be overcome by the secrecy interests of private litigants.” Jd. at 167.
And this balancing must be done on a document-by-document basis. /d. It is the
role of the District Court “to protect the legitimate public interest in filed materials
from overly broad and unjustifiable protective orders agreed to by the parties for
their self-interests.” /d. at 165.

The evidence presented by Navient — the Declaration of its Vice President of
Title TV Servicing ~ does not compel the conclusion that Navient’s privacy
interests trump the right of public access to the Brief. After addressing each of the
ten exhibits to the Brief, the Vice President of Title IV Servicing concludes that
unsealing the documents would reveal internal policies and communications

strategies and procedures. Navient argues that release of that information would

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harm it in the highly competitive market for Department of Education student loan
servicing business.°®
The Brief, however, does not divulge the details of any marketing or

communications strategies. Instead, it extracts information from documents
marked as “confidential” to show that there appears to be evidentiary support for
the Bureau’s claim that student borrowers had been “steered” away from IBR
programs and into the relatively disadvantageous “forbearance” of loan payments.
That the Bureau may have “cherry picked” quotations from the documents in
question is neither surprising nor grounds for sealing a judicial record. Advocates
are expected to use evidence in a way that furthers their clients’ position. The
adversarial process allows the opposing advocate the opportunity to place the
information used against it in the proper context.

In this case, Navient’s publicly-available Statement of Facts (Doc. 162) cites to
and quotes from some of the same “confidential” documents that the Bureau cites

to and quotes from in its Brief. For example, paragraph 229 of Navient’s

 

6 Significantly, however, Navient has publicly disclosed its approaches for
dealing with delinquent student loan borrowers, including its call strategy. See
https://studylib.net/doc/5297036/loan-servicing-overview(last visited Aug. 26,
2019);
https://www.navient.com/assets/about/investors/webcasts/2012FFELPOverviewvF
inal.pdf (last visited Aug. 26, 2019). Thus, its assertion that its approach to
delinquent student loan borrowers is proprietary and competitively sensitive rings
somewhat hollow.

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Statement of Facts avers that “Navient’s procedures and training material state in a
red box that ‘Forbearance should not be considered until all other options have
been exhausted,” and cites to training materials filed under seal. (Doc. 162 at 51 n.
273.) The Bureau counters this assertion by quoting one sentence from a June
2010 memorandum and quoting from the same training materials quoted by
Navient.’ The Bureau’s assertions in the Brief are highly generalized, and the
quotations reflect statements made by Navient that support the Bureau’s position
on its steering claims. Communications and loan servicing strategies are not
disclosed.

Paragraph 230 of Navient’s Statement of Facts avers that its “representatives
have used an online tool that guided them ‘to ask specific questions designed to
determine the best option for the borrower based on their current situation,’” citing
to a sealed exhibit. (Doc. 162 at $1 n. 274.) The Bureau countered by referring to
deposition testimony that it asserts contradicts this assertion, contending that IBR
options were not discussed with student borrowers. The transcripts had been
designated as “confidential” by Navient, but the information provided by the

Bureau in relation to the deposition testimony is both historical and generic. It

 

” The June 2010 memorandum is referred to by the parties as “Document
#1” to the Bureau’s Brief in support of its Motion to Defer, and the training
materials, which have since been revised, are referred to by the parties as
“Document #2.”

 

 
 

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concerns what information was communicated to student borrowers in 2011 and
2012. No competitive harm can be inferred from the disclosure of this dated
information in the Bureau’s Brief.®

Paragraph 231 of Navient’s Statement asserts that it “has multiple processes for
monitoring and listening to representatives’ phone calls with borrowers to check
whether representatives discuss repayment options based on a borrower’s financial
circumstances.” (Doc. 162 at 51.) The Bureau cites to email exchanges
concerning the results of this “monitoring and listening” that suggest that borrower
“steering” away from IBR programs persisted into 2016. No competitive harm to
Navient can be discerned from the Bureau’s use of email exchanges resulting from

a “monitoring and listening” program that Navient itself disclosed.

 

8 “fS]Jealing must be based on current evidence to show how public

dissemination of the pertinent materials now would cause the competitive harm.”
Avandia, 924 F.3d at 678 (Internal quotation marks and citation omitted; emphasis
in original). The Bureau’s Brief specifies that the Bureau is referring to the state of
affairs as it existed 7 to 8 years ago. It is difficult to discern how this stale
information can cause competitive harm to Navient today. See Zavala v. Wal-Mart
Corp., No. CIV.A.03-5309 JAG, 2007 WL 2688934, at *10 (D.N.J. Sept. 12,
2007) (refusing to seal material dating back more than three years because
staleness precluded a finding of present competitive harm); Procter & Gamble Co.
v. Nabisco Brands, Inc., 111 F.R.D. 326, 331 (D. Del. 1986) (“[I]t is hard to
imagine how Keebler's methods for acquiring information three years ago
concerning the physical construction of P & G's cookie facility warrant protection
from disclosure at this late date.”’).

 

 
 

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Paragraph 232 of Navient’s Statement alleges that “twihen Navient identifies a
call where a representative does not discuss appropriate repayment options,
Navient’s practice has been to coach the representative and contact the borrower to
discuss available options, including [IBR] plans where appropriate.” (/d.) In
support of this averment, Navient cites to deposition testimony that it filed under
seal. (/d.,n. 276.) The Bureau’s Brief cites to deposition testimony labeled as
confidential that, according to the Bureau, is inconsistent with Navient’s assertion.
Once again, no competitive harm to Navient can be discerned from unsealing the
Brief.

Statements in the Bureau’s Brief may cause Navient some embarrassment
and reputational harm. Indeed, Navient’s initial letter response on this issue
stressed that the Bureau was unfairly maligning Navient through the selective use
of snippets of information from material designated to be confidential. The Third
Circuit, however, has “repeatedly said that concern about a company’s public
image, embarrassment, or reputational injury, without more, is insufficient to rebut
the presumption of public access.” Avandia, 924 F.3d at 676 (citations omitted);
see also Mine Safety Appliances, 73 F. Supp. 3d at 561 (“disclosures that merely
caity a potential to affect adversely sales and/or a potential loss in capital stock

value fall short of warranting secrecy”),

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Access to “judicial records” is a presumptive right because openness of the
judicial process “promotes public confidence in the judicial system; diminishes
possibilities for injustice, incompetence, perjury, and fraud; and provides the
public with a more complete understanding of the judicial system and a better
perception of its faimess.” /d. at 677 (internal quotation marks and citation
omitted). It is especially important to assure access to “judicial records” in
litigation concerning matters of significant public importance, such as this case.
Navient services the loans of millions of student borrowers, and the public has a
right to know both Navient’s position concerning the claims asserted against it and
the position of the public agency that has sued Navient. “The potential of the
litigation to affect the rights of such members of the public gives rise to a
heightened need for judicial transparency and warrants particular strictness in the
test for overriding the right of access.” Mine Safety Appliances, 73 F. Supp. 3d at
561 (W.D. Pa. 2014). “Compelling countervailing interests to be protected” must
be established to justify sealing of a judicial record such as the Bureau’s Brief. /d.

In summary, there is no proprietary, budgetary, strategic, or other sensitive

information disclosed in the Brief in support of the Motion to Defer that could be

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used by a competitor of Navient. Any harm to Navient is solely reputational,
which does not warrant the sealing of the Brief.

As to the ten exhibits to the Brief, the Bureau has made clear that its primary
concern is the Brief. The only reason the Brief was filed under seal is because it
cites to Protected Material. The Bureau sought unsealing of the ten exhibits, in
whole or in part, so that the Brief could be unsealed.

The court’s role in this circumstance is to examine each sealed document to
gauge whether its release will result in “a clearly defined and serious injury to the
party seeking closure.” Avandia, 924 F.3d at 672 (internal quotation marks and
citation omitted). “[T]he court has an inherent obligation to review and supervise
the files being placed on its docket and a concomitant obligation to assure that the
use of its authority to keep matters from public scrutiny properly is being
employed.” Mine Safety Appliances, 73 F. Supp. 3d at 557. One of the sealed
judicial records is the Brief itself. The mere fact that the protective order calls for
sealing judicial records that reveal Protected Material does not overcome the
presumption of public access to such a judicial record. Here, careful review of the

Brief reveals no competitive harm. Sealing the Brief is not warranted.

 

* Navient argues that the Bureau has not identified any interest that is
advanced by unsealing the Brief. Even if that is true, it is irrelevant. The burden is
on Navient to justify the sealing of a judicia! record, and not on the Bureau to
demonstrate an interest in disclosure. See Avandia, 924 F.3d at 669.

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Having reached this conclusion, there is no need to consider whether the ten
exhibits should be unsealed, in whole or in part. It may be that parts of the sealed
exhibits may be made public. Indeed, Navient has suggested unsealing parts of the
deposition transcripts attached as exhibits to the Bureau’s Brief in support of the
Motion to Defer.'° But the more nuanced consideration of each of the discovery
documents has been rendered moot by the Bureau’s alternative request that the
Brief be unsealed and “the ten exhibits . . . remain sealed, comparable to Navient’s
public filing of its summary judgment brief and statement of facts.”"!'

IV. CONCLUSION

For the foregoing reasons, the Bureau’s request to unseal the Brief in Support of
its Motion to Defer (Doc. 213) will be granted. The Clerk of Court will be directed
to unséal the Brief if no objection to this determination is made by any party within
twenty-one (21) days of this decision. An appropriate order follows.

s/ Thomas I. Vanaskie

THOMAS I. VANASKIE
SPECIAL MASTER

 

'° The Bureau has agreed with Navient’s proposed redactions of the
testimony of Mathew Bailer, so the parties are free to have the unredacted parts
disclosed. As to the excerpts from the transcript of the deposition of Suzanne
Croft, Navient has proposed redacting all but an objection it had raised.
Effectively, therefore, Navient is insisting that all her testimony remain sealed.

'! Upon request of any party, I will undertake the document-by-document
review of the ten exhibits to determine whether continued sealing, in whole or in
part, is justified.

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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CONSUMER FINANCIAL
PROTECTION BUREAU,
Plaintiff
3:17-CV-101

Vv. : (Judge Mariani)

NAVIENT CORPORATION, et al.,

Defendants.

ORDER
NOW, this 27th Day of August 2019, in accordance with the foregoing
Special Master Report #14, IT IS HEREBY ORDERED THAT:

1. Plaintiff's request to unseal the Brief in Support of its “Motion to Defer the
Deadline for its Response to Defendants’ Motion for Partial! Summary
Judgment and to Prohibit Further Motions for Summary Judgment before the
Closing of Discovery” (Doc. 213) is granted. The Brief shall be unsealed if
no party objects to this Order and the accompanying Special Master Report
#14 within twenty-one days of the date of this Order.

2. The Plaintiffs request to unseal ten exhibits attached to that brief is denied,

without prejudice.

 

 
 

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3. Objections to the foregoing Special Master Report #14 and this Order must

be submitted no later than twenty-one (21) days after service of this Order.

s/ Thomas I. Vanaskie
THOMAS I. VANASKIE
SPECIAL MASTER

 
